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AUG 15 2018

.Cl_en\. US u:smct Court
Dlstnct of Montana - B|l|ings

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
BILLINGS DIVISION

HAL HORTON,
CV 17-1 l4-BLG-SPW

Plaintiff/
Counterdefendant,
ORDER

VS.

JENNIFER TIPTON and SLEEKEZ,
LLC, a Wyoming limited liability
company,

Defendant/
Counterclaimants.

 

 

The parties, pursuant to Rule 41(a)(1)(A)(ii), F.R.Civ.P., stipulated to the
dismissal of the above-captioned cause pursuant to the terms of the confidential
Mutual Release and Settlement Agreement previously signed by the parties (Doc.
21). Accordingly,

IT IS HEREBY ORDERED that the above-captioned cause is DISMISSED
WITH PREJUDICE pursuant to the terms of the confidential Mutual Release and
Settlement Agreement signed by the parties. Each party shall bear their own costs

and attomeys’ fees.

Case 1:17-cv-OOll4-SPW-T.]C Document 22 Filed 08/15/18 Page 2 of 2

DATED this /Vyd:y ofAugust, 2018.
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'sUsAN P. wATTERs
United States District Judge

